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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

CENTRAL DIVISION
CHRIS SCHERTZ, : Civil Action No. 411 l-cv-()0545
Plaintiff,
vs.
LHR, INC.
Defendant.

 

Plaintiff Chris Schertz, by his attorney Ray Johnson, hereby notifies that Court the above-

captioned case has been settled.

Respectfully submitted,

 

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